Case: 4:04-cr-00563-RWS   Doc. #: 286 Filed: 07/01/05   Page: 1 of 7 PageID #:
                                    717
Case: 4:04-cr-00563-RWS   Doc. #: 286 Filed: 07/01/05   Page: 2 of 7 PageID #:
                                    718
Case: 4:04-cr-00563-RWS   Doc. #: 286 Filed: 07/01/05   Page: 3 of 7 PageID #:
                                    719
Case: 4:04-cr-00563-RWS   Doc. #: 286 Filed: 07/01/05   Page: 4 of 7 PageID #:
                                    720
Case: 4:04-cr-00563-RWS   Doc. #: 286 Filed: 07/01/05   Page: 5 of 7 PageID #:
                                    721
Case: 4:04-cr-00563-RWS   Doc. #: 286 Filed: 07/01/05   Page: 6 of 7 PageID #:
                                    722
Case: 4:04-cr-00563-RWS   Doc. #: 286 Filed: 07/01/05   Page: 7 of 7 PageID #:
                                    723
